






Opinion issued September 20, 2007				 














In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-06-00835-CR

____________


ALBERTO VELASCO PEREZ, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 228th District Court 

Harris County, Texas

Trial Court Cause No. 1041353






MEMORANDUM  OPINION

	Appellant, Alberto Velasco Perez, pleaded guilty to the offense of  murder
without an agreement as to punishment with the State.  The trial court ordered a
presentence investigation report.  After a hearing, the trial court assessed punishment
at confinement for 99 years.  We affirm.

	Appellant's counsel on appeal has filed a brief stating that the record presents
no reversible error, that the appeal is without merit and is frivolous, and that the
appeal must be dismissed or affirmed.  See Anders v. California, 386 U.S. 738, 87
S.Ct. 1396, (1967). The brief meets the requirements of Anders by presenting a
professional evaluation of the record and detailing why there are no arguable grounds
for reversal.  Id. at 744, 87 S.Ct. at 1400; see also High v. State, 573 S.W.2d 807, 810
(Tex. Crim. App.1978). 

	Counsel represents that she has served a copy of the brief on appellant. 
Counsel also advised appellant of her right to examine the appellate record and file
a pro se brief.  See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991). 
More than 30 days have passed, and appellant has not filed a pro se brief.  Having
reviewed the record and counsel's brief, we agree that the appeal is frivolous and
without merit and that there is no reversible error.  See Bledsoe v. State, 178 S.W.3d
824, 826-27(Tex. Crim. App. 2005).  


	We affirm the judgment of the trial court and grant counsel's motion to
withdraw. (1) 

PER CURIAM


Panel consists of Justices Nuchia, Hanks, and Bland.

Do not publish.  Tex. R. App. P. 47.2(b).









				
1.    	Appointed counsel still has a duty to inform appellant of the result of this appeal and
that she may, on her own, pursue discretionary review in the Texas Court of Criminal
Appeals.  See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  


